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                                                                            Jl:JNO 12022 - ·
                                                                   sou~li~K U.S~DISTRICT COURT
   1   Name: Fernando Gastelum                                    BY     1-,(SDIS I RICT OF CALIFORNIA
                                                                             ~              _   DEPUTY
       Address: 209 W. 9th Street, Casa Grande, AZ 85122
   2
       Telephone Number: 520-560-0927
   3   Email: fernandog8899@gmail.com
   4   Prose

   5                          UNITED STATES DISTRICT COURT
   6                        SOUTHERN DISTRICT OF CALIFORNIA
   7

   8
        Fernando Gastelum,
   9                                                Case No.: 21-CV-1458 JLS (DEB)
                            Plaintiff,
  10                                                   VERIFIED FIRST AMENDED
  11   vs.                                                    COMPLAINT

  12    Pinnacle Hotel Circle LP
        dba Comfort Inn and Suites San
  13
        Diego Zoo Sea World Area,
  14
                             Defendant.
  15
  16       Plaintiff Fernando Gastelum complains and alleges as follows:

  17                                          PARTIES
       1. Plaintiff is a 61 year old man with physical disabilities. Plaintiff is economically
  18
           disadvantaged 1 . Plaintiff is missing a leg. Plaintiff uses a wheelchair for
  19
           mobility when locations are wheelchair accessible and a prosthetic leg and a
  20
           cane when the location is not wheelchair accessible. Plaintiff has a specially
  21
           equipped sport utility vehicle.
  22
       2. Since 2015, Plaintiff has been using a wheelchair for mobility in locations that
  23
           are designed for wheelchair use.
  24

  25   1 Plaintiff has been declared a pauper by the Southern California District in
  26   Gastelum v. HEES II (S.D. 3:21-cv-01337-JLS-RBB) Dkt. at 3. Notably, Southern
       District accepted Plaintiff's Amended Complaint as adequate pursuant to 28
  27   U.S.C. § 1915(e)(2) (relating to screening of In Forma Pauperis Complaints). Dkt.
       at 9. The current Verified First Amended Complaint not only meets, but exceeds,
  28   the standing allegations in the HEES II.
                                                1
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   1   3. The use of a wheelchair is Plaintiff's preferred method of dealing with his
   2         disability.
   3   4. Where the locations are not designed for the use of a wheelchair, Plaintiff

   4         must use his prosthetic leg and a cane to move short distances in order to

   5         navigate barriers to accessibility with great pain and discomfort; walking on
             the prosthesis is painful, uncomfortable, and causes the prosthesis to rub
   6
             against Plaintiff's skin. When Plaintiff uses the prosthetic, his leg sweats
   7
             which in turn loosens the prosthetic sleeve that begins to slip back and forth.
   8
             Plaintiff can no longer walk then. This requires Plaintiff to stop, remove the
   9
             prosthetic leg, let the sleeve dry up, and then put the prosthetic leg back on
  10
             again. Even with the use of the prosthesis and a cane, Plaintiff's ability to
  11
             negotiate mobility barriers alleged in this complaint is severely restricted.
  12
       5. The use of a wheelchair is Plaintiff's preferred method of dealing with his
  13         disability. The use of the prosthesis and a cane is a secondary way of moving
  14         because it causes secondary problems. The use of the prosthesis and a cane
  15         for short distances limits the use of Plaintiff's arms and hands because the
  16         right arm and hand are used for the cane and cannot be used, as for
  17         example, when opening doors. Door opening requires the use of two hands:

  18         one to turn the handle, the other to push the door open. Additionally, Plaintiff

  19         cannot use his body to lean into a door to open it because that causes
             additional stress on the prosthetic leg. Further, walking on sloped ground with
  20
             the prosthesis and a cane restricts Plaintiff from maintaining balance and
  21
             endangers him to falling down.
  22
       6. Defendant owns a public accommodation located at or about 2485 Hotel
  23
             Circle Place, San Diego, California 92108 ("Hotel").
  24
       7. The Hotel is open to the public, a place of public accommodation, and a
  25
             business establishment.
  26
  27   Ill
  28

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   1                                  JURIDICTION AND VENUE
   2   8. The Court has subject matter jurisdiction over the action pursuant to 28
   3         U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with

   4         Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.

   5   9. Pursuant to supplemental jurisdiction, an attendant and related cause of
             action, arising from the same nucleus of operative facts and arising out of the
   6
             same transactions, is also brought under California's Unruh Civil Rights Act,
   7
             which act expressly incorporates the Americans with Disabilities Act.
   8
       10.      Venue is proper in this court pursuant to 28 U.S.C. § 1391 (b) and is
   9
             founded on the fact that the real property which is the subject of this action is
  10
             located in this district and that Plaintiffs cause of action arose in this district.
  11
                                       FACTUAL ALLEGATIONS
  12   A. Plaintiff's Connections to California, the Pacific Coast, San Diego and
  13      Hotel Circle

  14   12.      Plaintiff's family comes from California. Plaintiff's mother's family comes
  15         from Shafter, and his family is located throughout California including

  16         Bakersfield, Fresno, San Jose, Modesto and Merced.

  17   13.      Plaintiff currently resides in Casa Grande, Arizona, which is the only place
             where he can afford housing. But for available housing, Plaintiff would prefer
  18
             to live in California which is closer to his friends, family, the Pacific Coast and
  19
             the chapters of 49ers Faithful Empire Club.
  20
       14.      Plaintiff enjoys California's Pacific Coast and travels there often with his
  21
             family.
  22
       15.      San Diego is the gateway to California's Pacific Coast and the closest
  23
             Pacific beach to Casa Grande.
  24   16.      San Diego is the location of the world famous SeaWorld which is the
  25         closest sea park to Casa Grande.
  26   17.      Plaintiff has visited SeaWorld 20-30 time in the past.
  27   18.      SeaWorld is an educational park where Plaintiff takes his family.
  28

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   1   19.      Plaintiff has visited the area and the location where the Hotel is situated
   2         innumerable times, in no event less than 30-40 times.
   3   20.      Even though Plaintiff resides in Arizona for economic reasons, Plaintiff is

   4         an ardent fan of the San Francisco 49ers as demonstrated by his prosthetic
             leg:
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   9

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  20
  21   21.      Plaintiff is a member of the 49ers Faithful Empire Club with chapters all
  22         over California, including San Diego.
  23   22.      The 49ers Faithful Empire Club members regularly meet and in season
  24         and off season for social barbecues.
  25   23.      Plaintiff prefers lodging in budget hotels like the Comfort Inn & Suites San

  26         Diego - Zoo SeaWorld Area because they provide lodging services at low
             price but are generally clean.
  27
  28

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   1   24.      Plaintiff stops in the San Diego I Hotel Circle area on at least 2-4 times
   2         per year to lodge, eat or attend a 49ers Empire SoCal barbecue, or on his

   3         way to Los Angeles and Northern California.

   4   25.      Hotel Circle provides an excellent lodging stop before turning onto

   5         Interstate 5 from Interstate 8 traveling North to Los Angeles and Northern
             California.
   6
       26.      The Hotel is also convenient to Plaintiff because it is located within a
   7
             short distance of numerous budget eateries.
   8
       27.      The Hotel is also convenient to Plaintiff because it is located within a
   9
             short distance to SeaWorld which Plaintiff has visited numerous time in the
  10
             past and which he intends to visit again with his grandkids.
  11
       28.      Plaintiff intends to lodge at Hotel Circle in San Diego when he attends the
  12         San Diego 49ers Empire Club social events, travels to Los Angeles or
  13         Northern California.
  14   B. Plaintiff's Visit to the Hotel and his Encounter with Barriers
  15   29.      Plaintiff visited the Hotel on July 2, 2021 with the intention to avail himself
  16         of its lodging services.
  17   30.      The Hotel is located in San Diego. San Diego is on California's Pacific

  18         Coast.

  19   31.      The Hotel is conveniently located close to SeaWorld.
       32.      When Plaintiff wishes to visit the Pacific Coast, he must travel to San
  20
             Diego which is the closest Pacific Costs city to Casa Grande. All roads to
  21
             California's Pacific Coast from Casa Grande lead through San Diego.
  22
       33.      The Hotel is conveniently located on Interstate 8 that runs between Casa
  23
             Grande and the Pacific Coast.
  24
       34.      Unfortunately, on the date of the plaintiff's visit, Plaintiff discovered that
  25
             the Hotel was not compliant with the disability access laws in conformance
  26         with the ADA Standards as it relates to wheelchair users like Plaintiff:
  27         a. Curb ramp was located on the accessible parking access aisle. This
  28            condition makes it more difficult for Plaintiff to maintain control of the
                wheelchair when exiting the car.
                                                     5
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   1
             b. Access aisle did not connect to an accessible route. This condition makes
   2
                it more difficult for Plaintiff to access the Hotel lobby.
   3
             c. Access aisle slope was too steep. This condition makes it more difficult for
   4            Plaintiff to control the wheelchair when using the access isle.
   5
       35.      These barriers relate to and impact Plaintiff's disability. Plaintiff personally
   6
             encountered these barriers.
   7   36.      Remediation of the barriers listed above is readily achievable, that is, the
   8         remediation can be easily accomplished and able to be carried out without
   9         much difficulty or expense.
  10   37.      As a wheelchair user, Plaintiff benefits from and is entitled to use
  11         wheelchair accessible facilities. By failing to provide accessible facilities, the
  12         defendants denied the plaintiff full and equal access.

  13   38.      The failure to provide accessible facilities created difficulty and discomfort

  14         for the Plaintiff.

  15
       39.      Defendant has failed to maintain in working and useable conditions those
             features required to provide ready access to persons with disabilities.
  16
       40.      The barriers identified above are easily removed without much difficulty or
  17
             expense. They are the types of barriers that are readily achievable to remove.
  18
             Moreover, there are numerous alternative accommodations that could be
  19
             made to provide a greater level of access if complete removal were not
  20
             achievable.
  21
             C. Plaintiff's Past and Planned Future Visits to San Diego and the Hotel
  22   41.      Plaintiff intends to return to San Diego I Hotel Circle to stay there and
  23         enjoy San Diego's access to the Pacific Coast at a specific time in the fall of
  24         2022.
  25   42.      Plaintiff intends to visit San Diego and SeaWorld at a specific time in the
  26         spring of 2023 with his family.
  27   43.       Plaintiff will return to San Diego for scheduled 49ers Faithful Empire Club

  28         social barbecues.


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   1   44.      On the basis of his experience with the Hotel, and its refusal to
   2         intentionally and without good cause (1) fail to modify its policies, practices
   3         or procedures to afford goods, services, facilities, privileges, advantages, or

   4         accommodations to individuals with disabilities in violation of 42 U.S.C. §

   5         12182(b)(2)(A)(ii); and (2) fail to remove architectural barriers where such
             removal is readily achievable in violation of 42 U.S.C. § 12182(b)(2)(A)(iv),
   6
             Plaintiff alleges that the Hotel poses an existential and immediate threat to
   7
             the equality and equity in the public space.
   8
       45.      As a result, Plaintiff is deterred from staying at the Hotel.
   9
       46.      Plaintiff will return to the Hotel Circle to lodge there once it is represented
  10
             to him that the Hotel is accessible to him. Plaintiff is currently deterred from
  11
             doing so because of his knowledge of the existing barriers and his uncertainty
  12         about the existence of yet other barriers on the site. If the barriers are not
  13         removed, the plaintiff will face unlawful and discriminatory barriers again.
  14   47.      Plaintiff will return to the Hotel to avail himself of its goods and services
  15         and to determine compliance with the disability access laws once it is
  16         represented to him that the Hotel is accessible. Plaintiff is currently deterred
  17         from doing so because of his knowledge of the existing barriers and his

  18         uncertainty about the existence of yet other barriers on the site. If the barriers

  19         are not removed, the plaintiff will face unlawful and discriminatory barriers
             again.
  20
         First Cause Of Action: Violation Of The Americans With Disabilities Act
  21
                             (42 U.S.C. section 12101, et seq.)
  22
       48.      Plaintiff re-pleads and incorporates by reference, as if fully set forth again
  23
             herein, the allegations contained in all prior paragraphs of this complaint.
  24
       49.      Under the ADA, it is an act of discrimination to fail to ensure that the
  25
             privileges, advantages, accommodations, facilities, goods and services of any
  26         place of public accommodation is offered on a full and equal basis by anyone
  27         who owns, leases, or operates a place of public accommodation. See 42
  28         U.S.C. § 12182(a). Discrimination is defined, inter alia, as follows:

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   1         a. A failure to make reasonable modifications in policies, practices, or
   2            procedures, when such modifications are necessary to afford goods,
   3            services, facilities, privileges, advantages, or accommodations to

   4            individuals with disabilities, unless the accommodation would work a

   5            fundamental alteration of those services and facilities. 42 U.S.C. §
                12182(b)(2)(A)(ii).
   6
             b. A failure to remove architectural barriers where such removal is readily
   7
                achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are defined by
   8
                reference to the ADA Standards.
  ·9
             c. A failure to make alterations in such a manner that, to the maximum extent
  10
                feasible, the altered portions of the Hotel are readily accessible to and
  11
                usable by individuals with disabilities, including individuals who use
  12            wheelchairs or to ensure that, to the maximum extent feasible, the path of
  13            travel to the altered area and the bathrooms, telephones, and drinking
  14            fountains serving the altered area, are readily accessible to and usable by
  15            individuals with disabilities. 42 U.S.C. § 12183(a)(2).
  16   50.      When a public accommodation provides accessible facilities for persons, it
  17         must do so for all persons, both fully abled and disabled.
  18   51.      A public accommodation must maintain in operable working condition

  19         those features of its facilities and equipment that are required to be readily
             accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211 (a).
  20
       52.      Here, the failure to ensure that the accessible facilities were available and
  21
             ready to be used by the plaintiff is a violation of the law.
  22
               Second Cause Of Action: Violation Of The Unruh Civil Rights Act
  23                             (Cal. Civ. Code§ 51-53.)
  24
       53.      Plaintiff repleads and incorporates by reference, as if fully set forth again
  25
             herein, the allegations contained in all prior paragraphs of this complaint. The
  26         Unruh Civil Rights Act ("Unruh Act") guarantees, inter alia, that persons with
  27         disabilities are entitled to full and equal accommodations, advantages,
  28         facilities, privileges, or services in all business establishment of every kind

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   1         whatsoever within the jurisdiction of the State of California. Cal. Civ. Code
   2         §51 (b).

   3   54.      The Unruh Act provides that a violation of the ADA is a violation of the

   4         Unruh Act. Cal. Civ. Code, § 51 (f).

   5   55.      Defendants' acts and omissions, as herein alleged, have violated the
             Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff's
   6
             rights to full and equal use of the accommodations, advantages, facilities,
   7
             privileges, or services offered.
   8
       56.       Because the violation of the Unruh Civil Rights Act resulted in difficulty,
   9
             discomfort or embarrassment for the plaintiff, the defendants are also each
  10
             responsible for statutory damages, i.e., a civil penalty. (Civ. Code§ 55.56(a)-
  11
             (c).)
  12                 Third Cause of Action - Violation Of The Disabled Persons Act
  13                                  (Cal. Civ. Code §§54-54.3)

  14   57.       Plaintiff realleges all allegations heretofore set forth.
  15   58.       Defendants have violated the DPA by denying Plaintiff equal access to its
  16         public accommodation on the basis of his disability as outlined above.
  17   59.       The DPA provides for monetary relief to "aggrieved persons" who suffer
  18     · from discrimination on the basis of their disability.
  19   60.       Plaintiff has been aggrieved by each Defendant's non-compliance with the
  20         DPA.
  21   61.       Pursuant to the DPA, Plaintiff is further entitled to such other relief as the
  22         Court considers appropriate, including monetary damages in an amount to be
  23         proven at trial, but in no event less than $1,000.00. Cal. Civ. Code§ 54.3.
  24   62.       Pursuant to the DPA, Plaintiff is entitled to costs in an amount to be proven
  25         at trial. Cal. Civ. Code§ 54.3.
  26         WHEREFORE, Plaintiff demands judgment against Defendant as follows:
  27         a. A Declaratory Judgment that at the commencement of this action each
  28             Defendant was in violation of the specific requirements of Unruh; and

                                                      9
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    1     b. Irrespective of each Defendant's "voluntary cessation" of the ADA and
   2            Unruh violation, if applicable, a permanent injunction which directs each
    3            Defendant to take all steps necessary to bring its facilities into full
   4            compliance with the law, so that the Defendants' Hotels are fully accessible
    5           to, and independently usable by, disabled individuals as required by law,
    6            and which further directs that the Court shall retain jurisdiction for a period
    7           to be determined after each Defendant certifies that its Hotel is fully in
    8           compliance with the relevant requirements of the Unruh to ensure that
    9            Defendant has adopted and is following an institutional policy that will in
   10            fact cause Defendant to remain fully in compliance with the law; and
   11         c. Irrespective of Defendants "voluntary cessation" of the ADA and Unruh
   12            violation, if applicable, the payment of costs of suit; and
   13         d. Order closure of the Defendant's place of public accommodation until
   14            Defendant has fully complied with Unruh and ADA; and
   15         e. For damages in an amount no less than $1,000.00 per violation per
   16            encounter; and
   17         f. For treble damages pursuant to Cal Civ. Code. §3345.
   18         g. The provision of whatever other relief the Court deems just, equitable and
   19            appropriate.
   20                                     PRAYER FOR RELIEF
   21   63.      Plaintiff prays for relief as follows:
   22         a. For injunctive relief compelling Defendant to comply with the Americans

   23            with Disabilities Act and the Unruh Act.

   24         b. For injunctive relief compelling Defendant to make reasonable
                 modifications in its policies, practices, or procedures to afford goods,
   25
                 services, facilities, privileges, advantages, or accommodations to
   26
                 individuals with disabilities.
   27
   28

                                                          10
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    1     c. Damages under the Unruh Civil Rights Act, which provides for actual
    2          damages and a statutory minimum of $4,000 for each encounter with
    3          barriers.

    4     d. For all other relief to which Plaintiff is entitled.

    5     e. For costs of suit and litigation expenses pursuant to 42 U.S.C. §12205.
          f.   For such other and further relief as Plaintiff may be entitled to.
    6
                                                Request For Trial By Jury
    7
               Plaintiff requests a trial by a jury for jury triable issues.
    8
                                                             Verification
    9
          Plaintiff verifies under the penalty of perjury that the above statements of fact
   10
          are true and correct to the best of his knowledge, information, memory or
   11
          belief.
   12          RESPECTFULLY SUBMITTED this 24 th day of May, 2022.
   13
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   15          Fernando Gastelum
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